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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )       Criminal No. 1:15-mj-00065-JCN
                                            )
DUSHKO VENELINOV VULCHEV                    )


                GOVERNMENT’S MOTION TO DISMISS COMPLAINT


       The Government hereby requests that the Court dismiss the Complaint filed in the above-

entitled case. Based on the same course of conduct giving rise to the Complaint, the defendant

was subsequently charged in a petty offense Information on September 29, 2015, Court No.

1:15-po-00005-JCN. Defendant pled guilty to and was sentenced on the charges brought forth in

the petty offense Information on October 2, 2015.


Date: November 12, 2015                     Respectfully submitted,

                                            THOMAS E. DELAHANTY II
                                            United States Attorney

                                            BY: /s/ ANDREW MCCORMACK

                                            ANDREW MCCORMACK
                                            Assistant U.S. Attorney
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                               CERTIFICATE OF SERVICE

        I hereby certify that on November 12, 2015, I electronically filed Government’s Motion
to Dismiss Complaint with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

       Marvin H. Glazier, Esq., at mhg@vbk.com

                                                   Thomas E. Delahanty II
                                                   United States Attorney

                                                   BY: /s/Andrew McCormack
                                                   Andrew McCormack
                                                   Assistant United States Attorney
                                                   U.S. Attorney’s Office
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